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 5

 6
                                       United States District Court
 7                               Western District of Washington At Seattle

 8    Della W. Edrington and Patrick S. Edrington
 9
                                         Plaintiffs,              No. 21-cv-
10
      vs.
11                                                                Complaint For Damages For Personal
12
      Holland America Line N.V., a Curacao                        Injuries
      corporation; HAL Antillen N.V., a Curacao
13    corporation; HAL Nederland N.V., a                          Jury Demand
      Curacao corporation; Holland America Line
14    USA Inc., a Delaware corporation; Carnival
15
      Corporation, a Panama Company; and XYZ
      Corporation, in personam; MS ZAANDAM,
16    its engines, appurtances, freight, cruise fares
      and tackle, in rem;
17

18
                                         Defendants.

19
             Plaintiffs, Della and Patrick Edrington, for cause of action against Defendants, allege and
20

21
     state as follows:

22                                                     PARTIES
23           1.       Plaintiffs Della W. Edrington and Patrick S. Edrington are now, and were at all
24
     times mentioned in this complaint, residing in the state of Virginia.
25
             2.       The Defendant Holland America Line N.V., is now, and was at all times
26

27
     material a foreign corporation, and an owner and or operator of the MS ZAANDAM.
      Complaint For Damages                                                    Mou r e L aw , p ll c
                                                                         A Professional Limited L iab ility Co mpany
28    For Personal Injuries - 1                                             1521 Second Avenue, Suite 1400
                                                                                   Seattle, WA 98101
                                                                                           Phone: (206) 300-2351
29                                                                                        Fax: (206) 206-374-2293
      Case No. 21-cv-
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 1
             3.       The Defendant HAL Antillen N.V., is now, and was at all times material a
 2

 3
     Curacao corporation and the owner and or operator of the MS ZAANDAM.

 4           4.       The Defendant HAL Nederland N.V., is now, and was at all times material a

 5   Curacao corporation and the owner and or operator of the MS ZAANDAM.
 6
             5.       The Defendant Holland America Line-USA Inc., is now, and was at all times
 7
     material, a Delaware corporation and the owner and or operator of the cruise ship MS
 8

 9
     ZAANDAM on which the subject incident occurred. At all times material Holland America

10   Line-USA Inc. was the agent of the other named Defendants.

11           6.       At all times material, Defendant Carnival Corporation was a Foreign profit
12
     corporation, the corporate parent of the other in personam defendants, and upon information
13
     and belief an owner, manager, operator and/or charterer of the cruise ship MS ZAANDAM
14

15
     doing business in the Western District of Washington.

16           7.       Defendant, XYZ Corporation, is named if discovery reveals that another entity,

17   whose name is not yet known, owns, manages, or operates the vessel, MS ZAANDAM.
18
             8.        At all times relevant and material to this complaint, Defendants acted through
19
     their agents, employees, and/or representatives, who in turn acted within the scope of their
20

21
     employment and/or agency.

22
             9.       At all times relevant and material to this complaint, one or more of the
23
     Defendants were bound by contract(s) or agreement(s) with other parties, requiring Defendants,
24
     either on their own behalf and/or on behalf of other parties, to maintain, operate, and otherwise
25
     control the subject cruise ship in a ways that would be safe for use by passengers and invitees.
26

27
      Complaint For Damages                                                        Mou r e L aw , p ll c
28                                                                           A Professional Limited L iab ility Co mpany
      For Personal Injuries - 2                                                 1521 Second Avenue, Suite 1400
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 1

 2
                                      JURISDICTION AND VENUE
 3

 4           10.      This court has jurisdiction under 28 U.S.C. §§ 1332 and 1333, 46 U.S.C. §

 5   30302, and or under the general maritime law, and under the contract(s) of carriage under
 6   which the claims are brought. Jurisdiction is thus based on the court’s admiralty jurisdiction
 7
     and pursuant 28 U.S.C. § 1332 as there is complete diversity of citizenship between the
 8
     Plaintiff and Defendants and the amount in controversy exceeds $75,000, exclusive of interest
 9

10   and costs.

11           11.      This Court has personal jurisdiction over Defendants.
12           12.      Venue is proper in this Judicial District under 28 U.S.C. § 1391 (b) and (c)
13
     because Defendants are subject to personal jurisdiction in this Judicial District and therefore
14
     are deemed to reside in this District.
15

16            13.     All conditions precedent for filing and maintaining this action have been

17   satisfied, have been waived, or do not apply.
18                                                 FACTS
19
             14.      Plaintiffs entered into a contract of carriage with Defendants for the purpose of
20
     a cruise aboard the ship MS ZAANDAM. The cruise commenced on March 7, 2020, in
21

22   Buenos Aries, Argentina and was scheduled to end on April 7, 2020 in Ft. Lauderdale, Florida.

23

24           15.       On March 7, 2020, the Edringtons boarded the MS ZAANDAM, a Holland
25
     America vessel, in Buenos Aires, Argentina with the intention of taking the cruise around
26

27
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28                                                                            A Professional Limited L iab ility Co mpany
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 1
     South America and through the Panama Canal and finishing the cruise in Ft. Lauderdale,
 2

 3
     Florida.

 4           16.      At the time of boarding and before the MS ZAANDAM sailed on March 7,

 5   2020, Defendants were well aware of the dangers posed by COVID-19.
 6
             17.      Defendants had experience with mass infections on their cruises and knew that
 7
     its passengers demographic was at very high risk for contracting and suffering serious
 8

 9
     complications from COVID-19.

10           18.      Defendants knew that it lacked capacity to effectively deal with serious

11   infectious diseases on its vessels.
12
             19.      The World Health Organization (WHO) declared COVID-19 a world health
13
     emergency of the highest level in January 2020.
14

15
             20.      The United States Center for Disease Control and Infection (CDC) made

16   available in early February 2020 their COVID-19 guidance for ships.

17           21.      The WHO provided significant guidance for minimizing the risks of COVID-19
18
     well before the MS ZAANDAM sailed.
19
             22.      The Defendants knew about the specific dangers COVID-19 posed to people
20

21
     living and working in close-quarters before it allowed the Edringtons to board the MZ

22   ZAANDAM.

23           23.      At the time of sailing, and since February 3, 2020, the Diamond Princess,
24
     owned by Carnival and a sister company to HAL, Princess, had been under quarantine at
25
     Yokohama’s port near Tokyo, Japan.
26

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 1
             24.      At the time of sailing, the Grand Princess, also owned by Princess, was in the
 2

 3
     midst of its own COVID-19 outbreak and trying to obtain permission to dock in Oakland, CA.

 4           25.      Defendants knew that COVID-19 had created a pandemic and that COVID-19

 5   was highly contagious and especially rapidly transmitted in close and closed environments
 6
     such as cruise ships.
 7
             26.      HAL’s Chief Medical Director, Dr. Grant Tarling, also serves as the Chief
 8

 9
     Medical Director for both Carnival and Princess and has extensive experience in public health

10   including infectious diseases.

11           27.      Dr. Tarling was fully informed and aware of the way in which COVID-19 was
12
     creating mass-casualties on cruise ships well before the MS ZAANDAM sailed.
13
             28.      Sailing despite knowing that the world was in the grips of a pandemic and that
14

15
     cruise ships were among the most dangerous places for older people on earth created a

16   specifically foreseeable risk to the passengers on the MS ZAANDAM, including Plaintiffs.

17           29.      Based on the information known to Defendants on or before March 7, 2020, the
18
     MS ZAANDAM should not have sailed, and it was gross negligence for the Defendants to
19
     allow the vessel to sail.
20

21
             30.      Prior to boarding the vessel, the Edringtons filled out a medical questionnaire,

22   responding truthfully that they were not ill in any way as they came on the vessel feeling fine.

23   The questionnaire stated nothing about COVID-19 and Defendants failed to provide passengers
24
     any warnings, instructions, or any information regarding a potential for a COVID-19 outbreak
25
     on the vessel.
26

27
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28                                                                           A Professional Limited L iab ility Co mpany
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 1
             31.      During the initial days on the cruise, Defendants implemented zero safety
 2

 3
     procedure on the vessel as they pertain to COVID-19. No temperature checking, no wearing of

 4   facial masks, and no social distancing procedures were put in place by Defendants, despite an

 5   overwhelming amount of information available to Defendants as to heightened risk Defendants
 6
     were subjecting its passengers to. These failures constitute gross negligence.
 7
             32.      On March 9, 2020, the Edringtons, still feeling fine, disembarked from the
 8

 9
     vessel at Montevideo, Uruguay to tour the port city. As they had up to this point, Defendants

10   not only allowed the passengers to come into contact with the local populace, but they also

11   continued to provide zero guidance about taking precautions regarding contracting COVID-19
12
     during the excursion.
13
             33.      On March 11, 2020, the Edringtons received letter from the vessel’s captain
14

15
     which stated that the CDC had recommended additional cleaning procedures on board and that

16   staff would be serving food from buffet rather than allowing guests to serve themselves. This

17   was the first time that Defendants had mentioned anything about COVID-19 to the Edringtons
18
     and that the vessel staff implemented any sort of unique procedures related to possible
19
     infection. The Captain failed to implement any other procedures to limit an outbreak on board
20

21
     the vessel such as social distancing, stepped up handwashing, and mask wearing. The Captain

22   also failed to do what any prudent mariner would have done, which would have been to put the

23   vessel in port, cancel the cruise, and send the passenger home after a 14-day quarantine.
24
             34.      The cruise proceeded on course and shore excursions, where passengers came
25
     into contact with potentially dozens or hundreds of people who were not passengers on the
26

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 1
     ship, continued unchanged. On March 12, 2020, the Edringtons again disembarked the vessel,
 2

 3
     this time in the Falkland Islands, and again Defendants failed to provide any cautions or

 4   instructions as to how to stay safe while ashore as related to COVID 19.

 5             35. On March 14, 2020, the Edringtons again disembarked the vessel at Punta Arenas,
 6
     Chile to participate in a HAL tour called the “A Voyage into the Past: Magellan’s Discovery”
 7
     with stops at a downtown public park, a town view from a public hillside, a downtown
 8

 9
     museum, and an outdoor nautical display of boats. This was all done via bus chartered by

10   Defendants. Again, Defendants not only hosted this venture, but provided no instructions

11   regarding staying safe as related to COVID-19. Defendants employed no safety procedures on
12
     the bus regarding infection. Defendants were grossly negligent to allow the tour to go forward
13
     at all.
14

15
               36. On March 14, 2020, the Edringtons received a letter from the captain of the vessel

16   stating that because President Trump had declared a national state of emergency, and even

17   though no crew member or passenger had tested positive for COVID-19, a decision had been
18
     made by Defendants to pause global operations and that the cruise would continue to San
19
     Antonio, Chile on March 21, 2021, but the cruise would end there and the passengers would
20

21
     have to disembark. The cruise would not continue on to Ft. Lauderdale as scheduled.

22             37.    The Edringtons had not received a test for COVID-19 at this time so it is

23   impossible to know if they and the other passengers had been exposed to COVID-19 at this
24
     point in the cruise.
25

26

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 1
               38.    On March 15, 2020, the Edringtons received their first notice that ship
 2

 3
     personnel would be checking the passengers’ temperature. This occurred at the mainstage on

 4   the vessel, causing all of the passengers to congregate in a central place.

 5             39.    Passengers continued to be allowed to line up for the buffet. Without any
 6
     instruction by Defendants – who had full access to several sources of information regarding the
 7
     infection process specifically related to COVID-19 – that it might be dangerous to do so, they
 8

 9
     sat together at dining tables. They roamed the ship, hung out together at the pool, attended

10   nightly entertainment, and used the ship’s other amenities.

11             40.    Unbelievably, despite a worldwide pandemic and over ten cruise ships
12
     worldwide experiencing massive COVID-19 outbreaks, on March 21 the vessel had a Happy
13
     Hour on the vessel at the Crow’s Nest which was packed with numerous passengers and crew
14

15
     serving drinks. The Edringtons went to the Happy Hour but did not order drinks, heard many

16   passengers coughing, immediately understood the insanity of the situation, returned directly to

17   their cabins and ordered dinner by room service. They also made the decision to start ordering
18
     all meals in their cabin and to self-isolate as much as possible until the cruise terminated. This
19
     was done out of self-preservation and without any instructions from the captain or the medical
20

21
     team or any other cruise personnel to do so.

22             41. Finally, on March 22, the Captain and the medical team on the vessel instructed all

23   passengers to stay in their cabins and established that all meals would be delivered to the
24
     cabins.
25

26

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 1
             42. Later that day, the Edringtons received a letter from the Chief Medical Officer for
 2

 3
     HAL stating that a “a higher-than-usual number of guests and crew reported to the medical

 4   center with symptoms of acute respiratory illness.”

 5           43. No countries, including Chile, would allow the vessel to dock as they feared
 6
     allowing COVID-infected passengers to disembark into their populace. Defendants then
 7
     decided to take the vessel back to the US via the Panama Canal and disembark in Port
 8

 9
     Everglades, located in Ft. Lauderdale, Florida.

10           44. On the morning of March 25, 2020, still on the vessel, the Edringtons woke up not

11   feeling well. The Edringtons both had a slight cough and low-grade fevers. They reported
12
     their illness to the ship’s doctor as instructed. As it turns out, they both had contracted COVID-
13
     19 on the vessel. The onset was rather mild, involving mainly a slight, dry cough.
14

15
             45. The ship’s doctor prescribed Robitussin Mucus cough medicine and DM syrup for

16   the night to the Edringtons which provided some temporary relief. After a few days the cough

17   became more painful and more pronounced and continuous causing intense pain which lasted
18
     for days. The Edringtons next experienced pronounced intestinal distress, including diarrhea
19
     and vomiting that went on for days while being confined to the cabin and being extremely ill.
20

21
             46. Mr. Edrington also began to experience higher fever of 100 degrees. The vessel

22   medical staff prescribed over the counter pain medication. The Edringtons began to also

23   experience extreme weakness and Mr. Edrington fell five times after falling ill because he
24
     became very weak due to COVID-19 and had a very difficult time moving around the cabin.
25
     Both of the Edringtons lost their sense of smell and taste during the acute phase of the illness
26

27
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 1
     and neither have regained their sense of smell and taste to the date of this filing causing
 2

 3
     extreme anxiety and mental anguish.

 4             47.    After spending eleven days confined to their cabins, and being extremely ill due

 5   to COVID-19, on April 3, 2020 the Edringtons were allowed to disembark in Ft. Lauderdale
 6
     Florida even though they were still experiencing significant COVID-related symptoms.
 7
               48.    The Edringtons flew home later that day and both self-isolated for 20 days, per
 8

 9
     the advice on Mr. Edrington’s physician, at home.

10             49.    They both continue to experience COVID-19 symptoms such as weakness and

11   memory loss.
12
               50.    Both of the Edringtons have tested positive for the COVID antibodies.
13
               51.    Mr. Edrington, after receiving his first dose of a COVID vaccine experienced a
14

15
     serious reaction requiring that he be admitted to the hospital.

16

17                                         CAUSES OF ACTION
18
                                                  Negligence
19
               52.    Plaintiff re-alleges the allegations in Paragraphs 1-52 as though set forth fully
20

21
     herein.

22             53.    Defendants, as owners and operators of the vessel, owed Plaintiffs an affirmative

23   duty of reasonable care under the circumstances, or alternatively, a higher duty of care
24
     commensurate with their common maritime carrier/passenger relationship to Plaintiffs.
25

26

27
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28                                                                            A Professional Limited L iab ility Co mpany
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 1
             54.      Defendants owed Plaintiffs a duty to maintain the vessel in a safe condition and
 2

 3
     to warn passengers of dangerous conditions.

 4           55.      Defendants knew or should have known of the defective and unreasonably

 5   dangerous conditions as the Defendants had ample notice of the COVID pandemic prior to
 6
     departure of the vessel on March 7.
 7
             56.      On or about March 7, 2020, Defendants, their agents and or employees breached
 8

 9
     their duty of care to Plaintiffs in one or more of the following ways, but in no way limited to:

10                    a.           Defendants failed to use reasonable care to safeguard the Plaintiffs

11                    during their cruise;
12
                      b.           Defendants failed to use reasonable care to inspect for hazards and to
13
                      maintain the vessel in a safe condition;
14

15
                      c.           Defendants failed to take reasonable steps to correct and or eliminate

16                    known existing hazards and dangers presented to the Plaintiffs by failing to do

17                    the following;
18
                                         Cancel the cruise and refund the passengers’ fares immediately.
19
                                         Adequate re-boarding health screening.
20

21                                       Reasonable evaluation by medical staff.

22                                       Ongoing health checks for guests and crew.
23
                                         Contact tracing plans in case of onboard illness.
24
                                         Expanded disinfection methods.
25

26                                       Sanitizing staterooms and public areas multiple times a day.

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 1
                                     Sanitizing transfer coaches and terminal.
 2

 3                                   Instituting physical distancing by adjusting the flow, timing, and

 4                                    size of groups on the vessel.
 5
                                     Providing additional handwashing facilities and hand-sanitizing
 6
                                      stations positioned in high-traffic areas throughout the ship.
 7
                                     Providing regular health information about the ways to stay
 8

 9                                    healthy on board and when ashore through daily programming,

10                                    entertainment systems, announcements, in-stateroom literature
11
                                      and its Navigator App.
12
                                     Modifying shipboard medical centers for infection control best
13
                                      practices, including dedicated air handling systems with 100
14

15                                    percent fresh air supply and HEPA exhaust filtration.

16                                   Establishing COVID-19 testing capabilities on board and/or
17
                                      ashore with designated laboratories for potential cases aboard the
18
                                      vessel.
19

20                                   Providing dedicated isolation and quarantine facilities for

21                                    passengers and crew who developed symptoms.
22
                                     Requiring ongoing training and education of shipboard medical
23
                                      staff in the latest clinical care practices for managing COVID-19
24
                                      cases.
25

26

27
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28                                                                            A Professional Limited L iab ility Co mpany
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 1
                                         Training of all crew in COVID-19 health protocols and how to
 2

 3                                        assist with monitoring compliance with health measures by both

 4                                        guests and crew.
 5                    d.           Defendants failed to take reasonable steps to warn the Plaintiffs of
 6
                      known dangers and hazards presented to passengers like the Plaintiffs;
 7
                      e.           Defendants failed to provide Plaintiffs with a safe vessel;
 8

 9                    g.           Defendants failed to warn Plaintiffs of known safety hazards and to

10                    provide notice of reasonably foreseeable dangerous conditions and to protect
11                    Plaintiffs from the unsafe hazards presented by maritime travel, dangerous
12
                      conditions, and seas, such as contracting an illness on the vessel.
13
             57.      The negligent acts and omissions of Defendants both directly and proximately
14

15   caused Plaintiffs’ serious illness including nausea, coughing, intestinal problems, memory loss,

16   fatigue, and permanent loss of sense of smell and taste. The full extent of these injuries is not
17   fully known at this time. Plaintiffs pray leave to amend this complaint when the full extent of
18
     injuries and disabilities is ascertained.
19
             58.      At all times material, Plaintiffs were acting with due care for their own safety.
20

21                                             GROSS NEGLIGENCE

22           59.       The Defendants breached its duties to the Edringtons by sailing, failing to
23   adequately screen passengers and crew, failing to timely and effectively implement
24
     precautions, and failure to reasonably manage alcohol consumption.
25

26

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 1
             60.      Not only were Defendants negligent in each of these respects, but its failings
 2

 3
     were also substantially and appreciably greater than ordinary negligence.

 4           61.      As a proximate cause of Defendants’ negligence, the Edringtons both contracted

 5   COVID-19 and related symptoms on the vessel.
 6
             62.      The negligent acts and omissions of Defendants both directly and proximately
 7
     caused Plaintiffs’ serious illness including memory loss, fatigue, loss of sense of smell and taste.
 8

 9
     The full extent of these injuries is not fully known at this time. Plaintiffs pray leave to amend

10   this complaint when the full extent of injuries and disabilities is ascertained.

11                                              DAMAGES
12
             63.      As a direct and proximate result of Defendants' negligence, Plaintiffs suffered
13
     serious illness, including but not limited to loss of memory, fatigue, loss of sense of smell and
14

15
     loss of taste. The Plaintiffs’ injuries resulted in pecuniary and other compensable losses,

16   including significant past and future reasonable and necessary medical and health care

17   expenses. These include, but are in no way limited to, medical and physical therapy charges
18
     and co-pays, prescription and health care aid fees and costs, and other past and future heath
19
     care fees, charges and co-pays to be determined at the time of trial.
20

21
              64.     As a direct and proximate result of Defendants' negligence, Plaintiffs incurred

22   past and future out-of-pocket expenses in connection with their reasonable and necessary

23   medical treatment including, but in no way limited to, transportation to obtain healthcare, and
24
     for household services, assistance, and other out-of-pocket costs, including the cost of their
25
     cruise, in amounts to be proven at the time of trial.
26

27
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 1
             65.      As a direct and proximate result of Defendants' negligence, Plaintiffs
 2

 3
     experienced physical and emotional injuries, including but in no way limited to, permanent

 4   physical impairment, pain, suffering, disability, limitations and loss of enjoyment of life in the

 5   past, and Plaintiffs will with reasonable certainty continue to experience such injuries and
 6
     general damages in the future.
 7
                                              JURY DEMAND
 8

 9
             66.      Plaintiffs demands a trial by jury.

10                                        PRAYER FOR RELIEF

11           WHEREFORE, Plaintiffs requests that the Court enter judgment against Defendants,
12
     jointly and severally, as follows:
13
             a.       For money judgment in such an amount that will fully and fairly compensate
14

15
                      Plaintiffs for their injuries, including general damages, special damages, and all

16                    other damages to be proven at trial;

17           b.       For arrest and judicial sale of the MS ZAANDAM, its engines, appurtenances,
18
                      freight, cruise fares, tackle and appurtenances;
19
             c.       For all expenses of health care providers, past, present and future;
20

21
             d.       For attorney fees, taxable costs and disbursements;

22           e.       For prejudgment interest, and

23           f.       For post-judgment interest and other relief allowed by the Court.
24

25
     //
26

27
      Complaint For Damages                                                        Mou r e L aw , p ll c
28                                                                           A Professional Limited L iab ility Co mpany
      For Personal Injuries - 15                                                1521 Second Avenue, Suite 1400
      Case No. 21-cv-                                                                 Seattle, WA 98101
29                                                                                   Phone: (206) 300-2351
                                                                                    Fax: (206) 206-374-2293
          Case 2:21-cv-00280-TSZ Document 1 Filed 03/04/21 Page 16 of 16




 1

 2   DATED this 4th day of March 2021.                 DATED this 4th day of March 2, 2021.
 3
     s/Charles P. Moure                                s/Gordon C. Webb
 4   _____________________________                     _______________________________
     CHARLES P. MOURE, WSBA # 23701                    GORDON C. WEBB, WSBA # 22777
 5   1521 Second Avenue, Suite 1400                    225 106th Avenue NE
     Seattle, Washington 98101                         Bellevue, Washington 98004
 6
     Telephone 206.300.2351                            Telephone 425.454.3800
 7   Email: Charles@mourelaw.com                       E-mail Gordon@webblawfirm.net
     Attorney for Plaintiffs                           Attorney for Plaintiffs
 8

 9

10

11
                                           VERIFICATION
12

13           Charles Moure, being first dully sworn, deposes and says:

14           That I have read the forgoing Complaint and that all of the facts and allegations
15
     therein are true and correct to the best of my knowledge under penalty of perjury of the laws
16
     of the State of Washington and of the United States.
17
     Dated Thursday, March 04, 2021
18

19
     Moure Law, pllc
20

21
     /sCharles Moure____________
22   Charles Moure, WSBA #23701

23

24

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26

27
      Complaint For Damages                                                      Mou r e L aw , p ll c
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